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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 IN RE APPLICATION OF WILDBRAIN
 FAMILY INTERNATIONAL LIMITED
 FOR AN ORDER PURSUANT TO                                            19-MC-527 (JPO)
 28 U.S.C. §1782 TO CONDUCT
 DISCOVERY FOR USE IN A FOREIGN                                     MEMORANDUM
 PROCEEDING                                                          AND ORDER


J. PAUL OETKEN, District Judge:

       On November 19, 2019, this Court granted the application of WildBrain Family

International Limited (“WildBrain”) for certain discovery for use in a foreign proceeding

pursuant to 28 U.S.C. § 1782. (Dkt. No. 6.) The target of that application, The Raine Group

LLC (“Raine”), subsequently filed a motion to quash the subpoenas served by WildBrain and to

vacate this Court’s order. (Dkt. No. 20.) The Court has reviewed the briefs, declarations, and

letters addressing Raine’s motion. For the reasons that follow, Raine’s motion is granted in part

and denied in part.

I.     Legal Standard

       Pursuant to 28 U.S.C. § 1782, “[t]he district court of the district in which a person resides

or is found may order him to give his testimony or statement or to produce a document or other

thing for use in a proceeding in a foreign or international tribunal . . . .” 28 U.S.C. § 1782(a).

Such an order may be made “upon the application of any interested person.” Id. “To the extent

that the order does not prescribe otherwise, the testimony or statement shall be taken, and the

document or other thing produced, in accordance with the Federal Rules of Civil Procedure.” Id.

       In ruling on a Section 1782 application, a district court first must determine whether three

statutory requirements are met: (1) the person from whom discovery is sought must “reside” or

be “found” in the district, (2) the discovery must be “for use in a proceeding before a foreign



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tribunal,” and (3) the application must be “made by a foreign or international tribunal or any

interested person.” Kiobel v. Cravath, Swaine & Moore LLP, 895 F.3d 238, 243 (2d Cir. 2018).

After determining that the statutory requirements are met, the court then must exercise its

discretion, considering four factors identified by the Supreme Court in Intel Corp. v. Advanced

Micro Devices, Inc., 542 U.S. 241 (2004): (1) whether “the person from whom discovery is

sought is a participant in the foreign proceeding,” in which event “the need for § 1782(a) aid

generally is not as apparent as it ordinarily is when evidence is sought from a nonparticipant in

the matter arising abroad”; (2) “the nature of the foreign tribunal, the character of the

proceedings underway abroad, and the receptivity of the foreign government or the court or

agency abroad to U.S. federal-court judicial assistance”; (3) “whether the § 1782(a) request

conceals an attempt to circumvent foreign proof-gathering restrictions or other policies of a

foreign country or the United States”; and (4) whether the request is “unduly intrusive or

burdensome.” Id. at 264-65.

       “The Intel factors are not to be applied mechanically,” Kiobel, 895 F.3d at 245, as they

are simply “guides for the exercise of district-court discretion.” Intel, 542 U.S. at 263 n.15.

These factors are “non-exclusive,” Kiobel, 895 F.3d at 244, and the district court “should also

take into account any other pertinent issues arising from the facts of the particular dispute.” Id.

at 245. “[D]istrict courts must exercise their discretion under § 1782 in light of the twin aims of

the statute: ‘providing efficient means of assistance to participants in international litigation in

our federal courts and encouraging foreign countries by example to provide similar means of

assistance to our courts . . . .’” In re Application for an Order Permitting Metallgesellschaft AG

to take Discovery, 121 F.3d 77, 79 (2d Cir. 1997).




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II.    Discussion

       The parties do not dispute that the three statutory requirements for Section 1782

discovery are met here: Raine resides in or is found in this District; the discovery is for use in

litigation pending in the United Kingdom; and the application is made by an interested person,

WildBrain.

       The parties do dispute the application of the four discretionary Intel factors and the

general appropriateness and scope of WildBrain’s subpoenas directed to Raine.

       The First Intel Factor. Raine — qua Raine — is not a participant in the UK proceeding.

To be sure, one of Raine’s partners, Schretter, is a defendant in that proceeding and in that sense

Raine may be considered a “participant.” But the focus of the parties and the court in setting the

contours of discovery in the UK proceeding was on documents in Schretter’s custody and

control, rather than the broader universe of Raine documents. For practical purposes, Raine as

an entity was not a participant in the UK proceeding, and this factor favors WildBrain.

       The Second Intel Factor. With respect to WildBrain’s subpoena for documents, there is

no “authoritative proof” or “clear directive” suggesting that the UK court would not be receptive

to the Section 1782 discovery sought here. Euromepa S.A. v. R. Esmerian, Inc., 51 F.3d 1095,

1100 (2d Cir. 1995). The fact that the UK court has not specifically requested such documents is

neither surprising nor fatal to WildBrain’s position. WildBrain has made a sufficient showing

that Raine, which invested $145 million in Moonbug, may have documents that are relevant to

the UK litigation. The Court concludes that this factor generally weighs in favor of WildBrain’s

application.

       In contrast, it is far less clear that this factor supports WildBrain’s subpoena for live

testimony. The “nature” and “character” of the UK proceedings are not such that they include




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live pretrial testimony, but only witness statements. The Court concludes in its discretion that

live testimony by Raine, a nonparty to the UK litigation, is not warranted.

       The Third Intel Factor. With respect to WildBrain’s document subpoena, the Court

discerns no “attempt to circumvent foreign proof-gathering restrictions or other policies of a

foreign country or the United States.” Intel, 542 U.S. at 265. Raine faults WildBrain for failing

to ask the UK court for broader discovery from Raine. But there is no exhaustion requirement

for Section 1782 discovery. See Euromepa, 51 F.3d at 1098.

       Again, however, the Court concludes that ordering live testimony would be in tension

with the proof-gathering procedures that govern the UK tribunal overseeing this dispute.

       The Fourth Intel Factor. The parties also dispute whether the subpoenas are “unduly

intrusive or burdensome.” Id. Raine has not made a specific showing as to how the subpoenas

are unduly intrusive or burdensome. It argues generally that it should not have to search all of its

employees’ documents when only three (or perhaps five) Raine employees have relevant

documents, and that the subpoenas are overbroad in scope.

       While the Court does not find that the fourth Intel factor categorically favors quashing the

subpoenas, the Court has considered Raine’s arguments in assessing whether the discovery

sought is “proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1).

       Having reviewed the relevant filings and the parties’ arguments in light of the

discretionary Intel factors and the proportionality standard of Federal Rule 26, the Court rules as

follows:

       1. Raine’s request to limit the scope of the document subpoena to five custodians is

denied. The fact that WildBrain has not identified all the pertinent custodians is not surprising,

given that Raine has possession of this information. Raine shall promptly (1) review and




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produce responsive documents in the custody and control of Kasper, Shanfield, and Gardner, in

addition to the three original Raine custodians; and (2) conduct a good faith search to identify

additional Raine personnel who may have responsive documents.

       2. With respect to Document Requests 12, 13, and 14, while the original requests were

overly broad, the Court finds that WildBrain’s revised requests — set forth in footnote 13 of Dkt.

No. 28 — are reasonable and proportional to the needs of the case. Accordingly, Raine shall

respond to those requests as modified.

       3. Raine’s motion to quash is granted with respect to WildBrain’s Rule 30(b)(6)

deposition subpoena. The Court finds that such testimony is not proportional to the needs of the

case and is unwarranted.

       4. In all other respects, Raine’s motion to quash is denied.

III.   Conclusion

       For the foregoing reasons, Raine’s motion to quash subpoenas and to vacate this Court’s

order of November 19, 2019, is GRANTED in part and DENIED in part, as indicated above.

       The Clerk of Court is directed to close the motion at Docket Number 20.

       SO ORDERED.

Dated: October 19, 2020
       New York, New York

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                                                         J. PAUL OETKEN
                                                     United States District Judge




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